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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE



UNITED STATES OF AMERICA                     )
                                             )
v.                                           )              No. 2:10-cr-136-DBH
                                             )
SHAREEF NASH, et al.,                        )
                                             )
                      Defendants             )



     MEMORANDUM DECISION ON HEARING REQUEST AND MOTIONS TO STRIKE
          AND RECOMMENDED DECISION ON MOTIONS TO SUPPRESS

        Defendant Hasan Worthy, indicted on (i) one count of conspiring to possess, with intent

to distribute, a mixture or substance containing cocaine base, a mixture or substance containing

cocaine, and a mixture or substance containing heroin, and aiding and abetting such conduct, in

violation of 21 U.S.C. §§ 846 and 841(a)(1) and 18 U.S.C. § 2, (ii) two counts of possessing,

with intent to distribute, a mixture or substance containing cocaine, and aiding and abetting such

conduct, in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2, and (iii) one count of

intentionally using a communication facility, a telephone, in committing, causing, and

facilitating one or more other offenses set forth in the indictment, in violation of 21 U.S.C.

§ 841(a)(1) or 844, see Third Superseding Indictment (Docket No. 232), moves to suppress any

and all audio recordings, text messages, or other information collected by the government

pursuant to this court‟s orders authorizing interception of wire and electronic communications, as

well as any and all evidence that is the fruit of such recordings or information, including

evidence obtained with warrants secured as a result of such recordings or information, see

Defendant‟s Motion To Suppress (“Worthy Motion”) (Docket No. 218) at 1.



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        One of Worthy‟s co-defendants, Shareef Nash, joins Worthy‟s motion in part and

separately moves to suppress intercepted communications on grounds that (i) the wiretaps were

unnecessary, and (ii) the monitoring of conversations was not properly minimized. See Motion

To Suppress . . . Intercepted Telephone Conversations (“Nash Motion”) (Docket No. 256).1 Six

other co-defendants, Daneek Miller, Sasha Phillips, John Palaia, Veronica Brown, Nicole

Webster Gersy, and Regina Goins, join the Worthy and Nash motions. See Notice (Miller)

(Docket No. 257); Joinder in Motions #218 and #256 (Phillips) (Docket No. 260); Notice of

Joinder (Palaia) (Docket No. 262); Notice (Brown) (Docket No. 267); Joinder in Motions #218

and #256 (Docket No. 275) (Webster Gersy); Joinder in Motions #218 and #264 (Goins) (Docket

No. 310).2

        On January 25, 2011, following the referral to me of the Worthy and Nash motions to

suppress, I held a conference with counsel to discuss Worthy‟s request for an evidentiary

hearing. See Report of Conference of Counsel and Order (“Conference Report”) (Docket No.

318) at 1; Worthy Motion at 13 (seeking “a hearing to determine the veracity of the affidavits

submitted by the government in supports of its applications for the wiretap orders . . ., the

credibility of the government‟s informants, and, the nature [o]f the government‟s efforts to

minimize interception of communications not subject to the wiretap orders.”). I ordered that

Worthy submit a supplemental brief addressing specified issues, to which I afforded the

government an opportunity to respond. See id. at 2-3. Those briefs were duly filed. See

Defendant Worthy‟s Supplemental Memorandum in Support of Motion To Suppress Wire


1
  Nash also filed a separate motion to suppress evidence seized pursuant to a search warrant. See Motion To
Suppress . . . Search of 71 Old Orchard Road, Buxton, Maine (Docket No. 264). I am today issuing a separate
recommended decision with respect to that motion.
2
  Presumably, Goins intended to refer to “Motion #256” instead of “Motion #264.” Unlike Phillips, who expressly
joined in Docket No. 264, see Docket No. 265, Goins did not state that she had standing to move to suppress
evidence seized in the search of 71 Old Orchard Road, Buxton, Maine. To the extent that Goins did mean to join
Docket No. 264, I treat her joinder in that motion in the same fashion as Phillips‟ joinder.

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Intercepts (“Supplemental Brief”) (Docket No. 324); Government‟s Reply to Defendant

Worthy‟s Supplemental Memorandum of Law in Opposition to Motion To Suppress Wire

Intercepts with Incorporated Motion To Strike (“Supplemental Response”) (Docket No. 334).

       In responding, the government, inter alia, moved to strike portions of Worthy‟s

supplemental brief that it argued exceeded the scope of my order.             See [Motion To

Strike/Government] (Docket No. 336) (incorporating Supplemental Response at 1-2).             In

response, Worthy moved to strike the government‟s motion to strike and, alternatively, opposed

it on the merits. See [Motion To Strike/Worthy] (Docket No. 339) (incorporating Defendant

Worthy‟s Objection to the Government‟s Motion To Strike, with Incorporated Motion To Strike

(“Strike Objection/Worthy”) (Docket No. 338) at 5).

       For the reasons that follow, I deny Worthy‟s motion to strike, grant the government‟s

motion to strike, deny Worthy‟s request for an evidentiary hearing, and recommend that the court

deny the Worthy and Nash motions to suppress.

                                I. Applicable Legal Standards

       The interception of electronic communications as an investigative technique is governed

by Title III of the Omnibus Crime Control and Safe Streets Act, 18 U.S.C. §§ 2510-22 (“Title

III”). See United States v. David, 940 F.2d 722, 727 (1st Cir. 1991). Title III confers standing

on any “aggrieved person” to move to suppress evidence derived from electronic surveillance.

See 18 U.S.C. § 2518(10)(a). An “aggrieved person” is defined as “a person who was a party to

any intercepted wire, oral, or electronic communication or a person against whom the

interception was directed[.]”   Id. § 2510(11).     The government does not contest that the

defendants who have moved to suppress intercepted communications, or joined in motions to do

so, have standing to seek suppression of those communications. See generally Government‟s



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Memorandum of Law in Opposition to Motion To Suppress Wire Intercepts (“Opposition”)

(Docket No. 274).

       Worthy seeks to suppress intercepted communications on grounds that the government

failed to make the requisite showings of necessity or probable cause for the wiretaps and failed to

properly minimize the interception of calls. See Worthy Motion at 4-12. Nash seeks to suppress

such communications on grounds of lack of a showing of necessity and failure to minimize calls.

See Nash Motion at [2].

                                          A. Necessity

       The so-called “necessity” requirement is “designed to assure that wiretapping is not

resorted to in situations where traditional investigative techniques would suffice to expose the

crime.” United States v. Rivera-Rosario, 300 F.3d 1, 18 (1st Cir. 2002) (citation and internal

quotation marks omitted). An application for an order authorizing the interception of a wire,

oral, or electronic communication must include, inter alia:

       (c) a full and complete statement as to whether or not other investigative
       procedures have been tried and failed or why they reasonably appear to be
       unlikely to succeed if tried or to be too dangerous;

                                                ***

        (f) where the application is for the extension of an order, a statement setting forth
       the results thus far obtained from the interception, or a reasonable explanation of
       the failure to obtain such results.

18 U.S.C. § 2518(1).

       In issuing an order authorizing wiretapping, an issuing judge must, inter alia, determine

on the basis of the facts submitted by the applicant that “normal investigative procedures have

been tried and have failed or reasonably appear to be unlikely to succeed if tried or to be too

dangerous[.]” Id. § 2518(3)(c).



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         To demonstrate necessity, “the government is not required to show that other

investigatory methods have been completely unsuccessful, nor is the government forced to run

outlandish risks or to exhaust every conceivable alternative before resorting to electronic

surveillance.” Rivera-Rosario, 300 F.3d at 19 (citations omitted). Instead, “the government

must demonstrate that it has made a reasonable, good faith effort to run the gamut of normal

investigative procedures before resorting to means so intrusive as electronic interception of

telephone calls.” United States v. López, 300 F.3d 46, 52 (1st Cir. 2002) (citation and internal

quotation marks omitted).

                                              B. Probable Cause

         With respect to probable cause:

         The procedures for the authorization of electronic surveillance are found in 18
         U.S.C. § 2518. As to probable cause, the statute provides that a judge may
         authorize a wiretap upon a determination that “there is probable cause for belief
         that an individual is committing, has committed, or is about to commit a particular
         offense enumerated in section 2516 of this chapter,” Id. § 2518(3)(a), and that
         “there is probable cause for belief that particular communications concerning that
         offense will be obtained through such interception.” Id. § 2518(3)(b).3

                                                        ***

         The probable cause showing required by section 2518 for electronic surveillance
         does not differ from that required by the fourth amendment for a search warrant.
         The Supreme Court has clearly delineated the standard which an issuing judge
         must follow in determining whether probable cause supports a warrant, as well as
         the duty of a reviewing court. The task of the issuing magistrate is simply to
         make a practical, commonsense decision whether, given all the circumstances set
         forth in the affidavit before him, including the “veracity” and “basis of
         knowledge” of persons supplying hearsay information, there is a fair probability
         that contraband or evidence of a crime will be found in a particular place. And
         the duty of a reviewing court is simply to ensure that the magistrate had a
         substantial basis for concluding that probable cause existed.



3
  The offenses enumerated in 18 U.S.C. § 2516 include “any offense involving . . . the manufacture, importation,
receiving, concealment, buying, selling, or otherwise dealing in narcotic drugs, marihuana, or other dangerous drugs,
punishable under any law of the United States[.]” 18 U.S.C. § 2516(e).

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United States v. Macklin, 902 F.2d 1320, 1324 (8th Cir. 1990) (citations and internal punctuation

omitted); see also, e.g., United States v. Fairchild, 189 F.3d 769, 775 (8th Cir. 1999)

(“Specifically, probable cause is present if the totality of the circumstances reveals that there is a

fair probability that a wiretap will uncover evidence of a crime.”); United States v. Domme, 753

F.2d 950, 954 n.2 (11th Cir. 1985) (“A wiretap application need not provide probable cause of

criminal activity for each person named in an application[.] What is required is sufficient

information so that a judge could find probable cause to believe that the telephone in question is

being used in an illegal operation.”) (citations omitted).

                                         C. Minimization

       Pursuant to 18 U.S.C. § 2518(5), “[e]very order and extension thereof shall contain a

provision that the authorization to intercept . . . shall be conducted in such a way as to minimize

the interception of communications not otherwise subject to interception under this chapter[.]”

18 U.S.C. § 2518(5).      The minimization requirement “spotlights the interest in confining

intrusions as narrowly as possible so as not to trench impermissibly upon the personal lives and

privacy of wiretap targets and those who, often innocently, come into contact with such

suspects[.]” United States v. Hoffman, 832 F.2d 1299, 1307 (1st Cir. 1987).

       The standard for judging minimization efforts is one of “objective reasonableness.”

United States v. Charles, 213 F.3d 10, 22 (1st Cir. 2000) (citations and internal quotation marks

omitted). “The statute does not forbid the interception of all nonrelevant conversations, but

rather instructs the agents to conduct the surveillance in such a manner as to „minimize‟ the

interception of such conversations.” Scott v. United States, 436 U.S. 128, 140 (1978); see also,

e.g., López, 300 F.3d at 57 (the standard is one “of honest effort; perfection is usually not

attainable, and is certainly not legally required”) (citations and internal quotation marks omitted);



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Charles, 213 F.3d at 22 (“[T]he critical inquiry is whether the minimization effort was managed

reasonably in light of the totality of the circumstances.”).

              D. Standard of Review; Appropriateness of Evidentiary Hearing

       “A wiretap authorization order is presumed proper, and the Defendants carry the burden

of overcoming this presumption.” United States v. Mondragon, 52 F.3d 291, 292 (10th Cir.

1995) (citation and internal quotation marks omitted). Typically, the task of a reviewing court

examining an issuing judge‟s wiretap order in the context of a motion to suppress is to

“examine[] the face of the affidavit and decide[] if the facts set forth in the application were

minimally adequate to support the determination that was made[.]” United States v. Villarman-

Oviedo, 325 F.3d 1, 9 (1st Cir. 2003) (citation and internal quotation marks omitted). “That is,

the sufficiency of the affidavit is to be upheld where the [reviewing] court determines that the

issuing court could have reasonably concluded that normal investigatory procedures reasonably

appeared to be unlikely to succeed.” López, 300 F.3d at 53 (citation and internal punctuation

omitted); see also, e.g., Rivera-Rosario, 300 F.3d at 19 n.23 (“When reviewing a wiretap

application, it is not our province to engage in de novo review of an application; instead, we test

it in a practical and commonsense manner to determine whether the facts which it sets forth are

minimally adequate to support the findings made by the issuing judge.”) (citations and internal

punctuation omitted).

       The same standard pertains when the district court “is „reviewing‟ the prior district court

authorization of a wiretap application in the course of a suppression motion challenging the

facial sufficiency of the affidavit.” United States v. Ashley, 876 F.2d 1069, 1074 (1st Cir. 1989).

“This inquiry is not rigid or rule-oriented; to the precise contrary, Title III demands a practical,




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commonsense approach to exploration of investigatory avenues and relative intrusiveness.”

David, 940 F.2d at 728 (citation and internal quotation marks omitted).

       In the context of a motion to suppress evidence gathered pursuant to a wiretap order, an

evidentiary hearing is warranted only when a defendant has made either “a substantial

preliminary showing that a false statement knowingly and intentionally, or with reckless

disregard for the truth, was included by the affiant in the warrant affidavit, and . . . is necessary

to the finding of probable cause” or a showing of a material omission in the government‟s

application. Rivera-Rosario, 300 F.3d at 20 (citation and internal quotation marks omitted).

       With respect to alleged insufficient minimization, the defendant bears the burden of

making a prima facie showing of contested facts justifying a hearing. See United States v.

Giacalone, 853 F.2d 470, 482-83 (6th Cir. 1988).

                                      II. Motions To Strike

                                 A. Worthy’s Motion To Strike

       During my January 25 conference with counsel, I raised concerns that Worthy “(i) had

supplied, for the first time in his reply brief, detailed argumentation in support of his hearing

request, appending some 130 pages of supporting materials thereto, . . . (ii) had omitted to supply

pinpoint citations in support of propositions advanced in his reply brief, and, (iii) in some cases,

had failed to supply any citation at all.” Conference Report at 1. I also questioned whether, as

indicated by the absence of any mention of the point in his reply brief, Worthy no longer pressed

for an evidentiary hearing with respect to the government‟s minimization procedures. See id. at

1-2.

       I ordered that Worthy file, no later than February 8, 2011, “a supplemental brief

(i) providing pinpoint citations to the record materials submitted in support of his arguments in



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favor of an evidentiary hearing, (ii) clarifying whether he presses a request for an evidentiary

hearing with respect to the government‟s minimization procedures and, if so, on what basis,

(iii) supplying specific record citations and legal authority in support of his argument that

material information was omitted from affidavits submitted in support of the wiretap

applications, and (iv) addressing why, in view of the extrinsic evidence already produced, an

evidentiary hearing is necessary.” See id. at 2-3. I ordered that the government file any response

no later than February 22, 2011. See id. at 3. I noted that Worthy was granted the opportunity to

supplement his earlier filings “without prejudice to any argument the government might wish to

make that Mr. Worthy had failed in the first instance to make the showing necessary to warrant

an evidentiary hearing.” Id. at 2.

       Subsequently, I granted a motion by Worthy, consented to by the government, to extend

his supplemental brief filing deadline to February 11 and that of the government to February 25,

see Docket Nos. 319-20, a motion by Worthy to extend his supplemental brief filing deadline to

February 14 and that of the government to February 28, see Docket Nos. 322-23, and an

unopposed motion by the government to extend its deadline to March 11, see Docket Nos. 329-

30.

       Worthy moves to strike the government‟s motion to strike on the basis that it is untimely,

the government having sought and received his consent only to an extension of time to file a

response to the supplemental brief, not to file a motion to strike. See Strike Objection/Worthy at

5. Worthy‟s argument is without merit. The government‟s motion to strike is an integral part of

its response to Worthy‟s supplemental brief.        Its response was timely filed, not only with

Worthy‟s consent but also, more importantly, with leave of the court, on March 11, 2011. See

Docket No. 334. Worthy‟s motion to strike accordingly is DENIED.



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                               B. Government’s Motion To Strike

        The government moves to strike the following portions of Worthy‟s supplemental brief,

 which it contends constitute new arguments exceeding the scope of my January 25 order

 permitting supplemental briefing: (i) a challenge to the wire intercepts based on lack of judicial

 oversight, (ii) a challenge to the wire intercepts based on the claim that the orders authorizing

 them were overbroad in agency authorization and description of offenses, and (iii) the contention

 that the wire intercepts should be suppressed on necessity grounds because the government failed

 to discuss the investigative technique that Worthy contends it ultimately employed.            See

 Supplemental Response at 2. I agree.

        The first two of the three challenged arguments pertain to the issue of minimization. In

 his initial motion, Worthy argued that the sheer volume of intercepted recordings produced in

 discovery, 4,600 calls as well as numerous messages, suggested that the government failed to

 minimize interception of communications subject to the wiretap orders in question. See Worthy

 Motion at 12. He requested a hearing for the purpose of inquiring into the government‟s efforts

 to minimize its intrusion into his privacy, reasoning that the government, alone, had access to all

 of the data that it had accumulated and the exact procedures used to minimize illegal

 interceptions. See id.

        With respect to the issue of minimization, the government rejoined that Worthy relied

 solely upon the volume of calls intercepted, which had no bearing on the adequacy of

 minimization efforts, and failed to identify a single specific call that was purportedly

 inadequately minimized. See Opposition at 18. It contended that Worthy‟s failure to identify

 specific, purportedly inadequately minimized calls was fatal to his request for an evidentiary

 hearing on its minimization efforts. See id. at 20-21.



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         In his reply brief, Worthy greatly expanded upon his request for an evidentiary hearing

 but omitted mention of the need for a hearing to examine the government‟s minimization efforts.

 See generally Defendant Worthy‟s Reply Memorandum in Support of Motion To Suppress Wire

 Intercepts (“Worthy Reply”) (Docket No. 303).

         Against that backdrop, at the January 25 conference with counsel, I questioned whether

 Worthy had waived his request for a hearing insofar as it bore on the adequacy of the

 government‟s minimization efforts. See Conference Report at 1-2. At his counsel‟s request, I

 permitted him the opportunity to clarify whether he pressed for an evidentiary hearing with

 respect to the government‟s minimization procedures and, if so, on what basis. See id. at 2. I did

 not provide leave to devise entirely new substantive arguments with respect to minimization.

 See id.4 Worthy‟s arguments, made for the first time in his supplemental brief, that there was a

 lack of judicial oversight of the government‟s minimization efforts, including the adoption of

 assertedly overly broad language in the court‟s wiretap authorization orders that conferred undue

 discretion on investigating agents, see Supplemental Brief at 8-11, and that the court‟s wiretap

 orders were sufficiently deficient to justify suppression of intercepted communications on that

 ground alone, see id. at 19-20, exceed the confines of my order permitting briefing. Thus, they

 are appropriately stricken.

         In a similar vein, as the government points out, see Supplemental Response at 2, Worthy

 raised for the first time in his supplemental brief an argument that the affidavits submitted in

 support of the wiretap applications omitted important information bearing on the necessity of the

 wiretaps, namely, the expected efficacy of the arrest and indictment strategies ultimately


 4
   Worthy incorrectly states, in his opposition to the government‟s motion to strike, that the court requested
 discussion “concerning whether a hearing or suppression or both are appropriate with respect to the government‟s
 failure to minimize.” Strike Objection/Worthy at 5-6 (emphasis added).


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 employed in this case, which Worthy surmises the government may already have been

 contemplating when it prepared its wiretap applications, see Supplemental Brief at 18-19. By

 my order of January 25, Worthy was directed, in relevant part, to “provid[e] pinpoint citations to

 the record materials submitted in support of his arguments in favor of an evidentiary hearing”

 and to “supply[] specific record citations and legal authority in support of his argument that

 material information was omitted from affidavits submitted in support of the wiretap

 applications[.]”     Conference Report at 2-3.            He was thereby directed, and permitted the

 opportunity, to address deficiencies in his papers. He was not permitted the opportunity to

 identify additional alleged material omissions that might justify an evidentiary hearing.5

         To the extent that Worthy suggests, in the alternative, that he timely raised new bases for

 suppression because no motion deadline ever was set with respect to the second and third

 superseding indictments against him, see Strike Objection/Worthy at 4, 6, he errs. In this district,

 as in others, the filing of a superseding indictment does not automatically affect pretrial motions

 filed on the prior indictment, or extend pretrial motion filing deadlines. Action is required by a

 judge, whether on motion of a party or sua sponte. See, e.g., United States v. Bazuaye, No. 03

 CR. 12(KTD), 2004 WL 784835, at *5 (S.D.N.Y. Apr. 12, 2004), aff’d, 311 Fed. Appx. 382 (2d

 Cir. 2008) (“The filing of a superseding indictment does not have an effect on the pretrial

 motions filed on the original indictment unless the district court has ruled that the superseding

 indictment moots the pending motions.”) (citation and internal quotation marks omitted).

         Moreover, while Worthy protests the unfairness of permitting the government to file


 5
  In opposing the government‟s motion to strike, Worthy argues, inter alia, that because the government submitted
 new material in its response to Worthy‟s supplemental brief, including a supplemental affidavit and examples of
 previously withheld minimization evidence, he should be permitted to make the arguments the government now
 seeks to strike. See Strike Objection/Worthy at 6. This assertion is without merit. Worthy was permitted to file a
 supplemental brief addressing selected matters, to which the government was permitted to respond. Worthy‟s
 supplemental brief exceeded the permitted scope. By contrast, the government confined itself to responding to the
 points raised in Worthy‟s supplemental brief.

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 superseding indictments adding or deleting charges without affording defendants an opportunity

 to supplement their motions, see Strike Objection/Worthy at 7, from all that appears, he could

 have raised every one of the three arguments at issue when he filed his initial motion to suppress.

 Even construing his argument, liberally, as a motion for leave to file a supplemental motion to

 suppress, he makes no compelling case for enlargement of the motion filing deadline “[f]or good

 cause[.]” Fed. R. Crim. P. 12(e).

        For the foregoing reasons, the government‟s motion to strike is GRANTED, and the

 following arguments in Worthy‟s supplemental brief are disregarded: (i) a challenge to the wire

 intercepts based on lack of judicial oversight, (ii) a challenge to the wire intercepts based upon

 the claim that the orders authorizing them were overbroad in agency authorization and

 description of offenses, and (iii) the contention that the wire intercepts should be suppressed on

 necessity grounds because the government failed to discuss the investigative technique that

 Worthy contends it ultimately employed.

                              III. Request for Evidentiary Hearing

        Worthy seeks an evidentiary hearing on grounds that (i) the two affidavits of United

 States Drug Enforcement Agency (“DEA”) agent Kristine Tierney submitted in support of the

 government‟s June 2010 and July 2010 applications for wiretap authorizations contain several

 false statements, see Worthy Reply at 2-7; Supplemental Brief at 12-18, 20-23, (ii) those

 affidavits contain material omissions, see Worthy Reply at 7; Supplemental Brief at 22, and (iii)

 the government‟s failure to minimize appears widespread, although the extent of that failure is

 difficult to measure without a hearing given the government‟s apparent failure to follow

 promised minimization procedures, see Supplemental Brief at 3-6, 12.

        Defendants bear the burden of demonstrating the necessity of an evidentiary hearing.



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 See, e.g., Giacalone, 853 F.2d at 483 (“Who bears the burden of production and persuasion at the

 evidentiary hearing is irrelevant to the separate issue of whether an evidentiary hearing should be

 held in the first place. And, as the district court ruled, a defendant must make at least some

 initial showing of contested facts to be entitled to such a hearing.”). For the reasons that follow,

 Worthy has not carried that burden in this case.

                                   A. Alleged False Statements

        Worthy identifies six allegedly false statements contained in the Tierney affidavits. See

 Supplemental Brief at 21-23; see also Worthy Reply at 6-7. For the reasons that follow, he falls

 short of making the requisite “substantial preliminary showing that a false statement knowingly

 and intentionally, or with reckless disregard for the truth, was included by the affiant in the

 warrant affidavit[.]” Rivera-Rosario, 300 F.3d. at 20:

        1.      That the government did not have sufficient information to identify Nash. See

 Worthy Reply at 2-3; Supplemental Brief at 14-17, 21; Affidavit in Support of Application for

 Authorization To Intercept Wire and Electronic Communications (“First Tierney Aff.”), Exh. B

 to Application for Interception of Wire and Electronic Communications (Docket No. 1), In re

 Application of U.S. for Order Authorizing Interception of Wire & Elec. Commc’ns (“First

 Wiretap Case”), No. 2:10-mc-150-DBH (D. Me.), ¶ 75; Affidavit in Support of Application for

 Authorization To Intercept Wire and Electronic Communications (“Second Tierney Aff.”)

 (Docket No. 2), In re Application U.S. for Order Authorizing Interception of Wire & Elec.

 Commc’ns (“Second Wiretap Case”), No. 2:10-mc-165-DBH (D. Me.), ¶ 30.                       As the

 government points out, see Supplemental Response at 5, this is an obvious typographical error,

 Tierney having elsewhere discussed the government‟s identification of Nash as a target subject,

 see, e.g., First Tierney Aff. ¶ 16(B); Second Tierney Aff. ¶ 17(B). The error accordingly was



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 harmless and immaterial.

        2.     That the government did not have sufficient information to identify Nash‟s

 suppliers. See Worthy Reply at 4; Supplemental Brief at 21; First Tierney Aff. ¶ 75; Second

 Tierney Aff. ¶ 30. Worthy argues that this statement was, at the least, misleading because

 Tierney had elsewhere, in both of her affidavits, identified Miller as a supplier.           See

 Supplemental Brief at 21. With respect to Miller, the statement was plainly wrong, Tierney

 having made clear elsewhere in her affidavits that agents believed Miller to be supplying the

 bulk of the cocaine to the Nash organization. See, e.g., First Tierney Aff. ¶ 16(K)(iii); Second

 Tierney Aff. ¶ 17(K)(iii). The error was obvious and, thus, harmless and immaterial. Worthy

 adduces no evidence calling into question the veracity of the statement with respect to other

 suppliers, Tierney having indicated that agents had not identified the suspected supplier of bulk

 heroin and were not confident that they had identified all potential suppliers. See, e.g., First

 Tierney Aff. ¶¶ 16, 75, 99; Second Tierney Aff. ¶¶ 17, 30, 51. Indeed, the government adduces

 evidence that it still has not identified the individual(s) who supplied Nash and others in two

 drug transactions that occurred during the wire intercepts. See Supplemental Response at 7;

 Affidavit (“New Tierney Aff.”) (Docket No. 335) ¶¶ 8-9.

        3.     That the government did not have sufficient information to charge Nash. See

 Worthy Reply at 2-4; Supplemental Brief at 14-17, 21; First Tierney Aff. ¶ 75; Second Tierney

 Aff. ¶¶ 30, 52. Worthy argues that this statement was false in view of discovery showing that (i)

 a confidential informant had told the government in January 2010 that Nash headed a drug

 trafficking organization and had described some details of its operation, see Supplemental Brief

 at 14; Exh. A to Worthy Reply; (ii) on January 22, 2010, Tierney, acting as an undercover agent,

 was able to purchase crack cocaine from an intermediary, Goins, immediately after Nash



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 delivered it to Goins, see Supplemental Brief at 14-16; Exh. B to Worthy Reply ¶¶ 15-18, 21;

 (iii) at least two agents conducting surveillance during Tierney‟s January 22, 2010, undercover

 drug purchase observed the occupants of the vehicle from which Goins obtained drugs, and, on

 February 18, 2010, one picked Nash‟s photo from a photo lineup, see Supplemental Brief at 15-

 16; Exh. C to Worthy Reply ¶¶ 18-22; Exh. G to Supplemental Brief at R072-0001, (iv) the

 government had installed a pole camera outside of Nash‟s home in Buxton, Maine, from April

 through July 2010, and the camera documented that on July 28, 2010, Nash appeared to bury

 something in his yard, see Supplemental Brief at 16; Exh. H thereto at R207-0001-02; and (v) the

 government had obtained at least some travel and financial records of Nash and Phillips that

 potentially helped document trips to New York to secure drugs, see Supplemental Brief at 16-17;

 Exh. E to Worthy Reply.

        The government persuasively counters that, in so arguing, Worthy equates “information”

 with “evidence.” See Supplemental Response at 6-7. As the government notes, Worthy himself

 has elsewhere questioned the reliability and veracity of the government‟s confidential

 informants. See id. at 6; Worthy Motion at 10-12. The government represents that, during the

 January 22, 2010, undercover purchase, no witness observed what occurred in the vehicle, no

 audio or video recording captured what transpired there, and Nash was one of two occupants of

 the vehicle.   See Supplemental Response at 7.      As the government observes, see id., “a

 defendant‟s mere presence at the scene of the crime alone is generally insufficient proof of his

 participation in the crime[,]” United States v. Angulo-Hernández, 565 F.3d 2, 7 (1st Cir. 2009)

 (citation and internal quotation marks omitted). While Nash was observed, by means of the pole

 camera, apparently burying something in his yard, Worthy points to no report or other evidence

 that investigators were able to confirm that Nash had buried drugs or any other item related to



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 the alleged drug conspiracy. Finally, as the government notes, see Supplemental Response at 7

 n.3, Worthy acknowledges that much of the substance of the discovery on which he now relies to

 illuminate the falsity of Tierney‟s statement was summarized in her affidavits, see Supplemental

 Brief at 16, weighing heavily against any finding of knowing or reckless misrepresentation.

          4.       That the government did not know the location where Nash stored drugs. See

 Worthy Reply at 7; Supplemental Brief at 21. Worthy does not identify the precise sections of

 the Tierney affidavits in which this statement is made, and the government states that it is unable

 to find it. See Supplemental Response at 8. Worthy perhaps refers to Tierney‟s statements that

 the wiretaps were expected to disclose the identification of the site(s) being used for the storage

 and concealment of cocaine base, cocaine, and/or heroin. See First Tierney Aff. ¶ 13(d); Second

 Tierney Aff. ¶ 14(d). In any event, as the government notes, see Supplemental Response at 8,

 Tierney disclosed what Worthy says she should have disclosed: that Nash and his associates

 appeared to store drugs at Nash‟s Buxton residence, although agents did not know when the

 drugs were present or where on the property they were kept, see First Tierney Aff. ¶ 99; Second

 Tierney Aff. ¶ 51; see also Supplemental Brief at 21; Exh. A to Worthy Reply.6

          5.       That Tierney had probable cause to believe, and did believe, that the targets were

 committing money laundering offenses and that communication intercepts would identify the

 existence, location, and disposition of proceeds of drug dealing activities and details of the

 money laundering operations. See Worthy Reply at 5-6; Supplemental Brief at 7-8, 13-14, 22;

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   Worthy also challenges the veracity of Tierney‟s statement that the execution of a search and seizure warrant at
 Nash‟s house was not possible at that time because the government did not know when drug shipments arrived. See
 Supplemental Brief at 21; First Tierney Aff. ¶ 99; Second Tierney Aff. ¶ 51. He asserts that the government had
 information that the cocaine was replenished whenever the store was low, reasoning that the timing of a shipment
 was not crucial because stores were always present. See Supplemental Brief at 21. Worthy does not provide a
 citation to discovery materials containing this information, and the government represents that it cannot find it. See
 Supplemental Response at 8. Assuming arguendo that such materials exist, the government makes a plausible
 argument that the timing of shipments was, in fact, critical: Had a de minimis quantity of drugs been seized during
 execution of a search warrant at the Nash property, there would have been insufficient evidence to establish the
 conspiratorial conduct involved in this case. See Supplemental Response at 8.

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 First Tierney Aff. ¶¶ 6(d), 76(c)-(e), 97, 99; Second Tierney Aff. ¶¶ 7(d), 14(e), 32(c)-(e), 50- 51.

 Worthy challenges this statement on grounds that (i) the financial records of Phillips that the

 government subpoenaed reveal no evidence of money laundering, see Exh. E to Worthy Reply,

 (ii) no other discovery provided to Worthy evidences money laundering, (iii) despite Tierney‟s

 certitude, in her first affidavit, that the requested wiretap would reveal evidence of money

 laundering, she did not, in her second affidavit, identify any such evidence as having been

 collected as a result of the first wiretap, and (iv) despite Tierney‟s statement that she had

 probable cause to believe that the crime of money laundering had been committed, no defendant

 has in fact been charged with such a crime in this case, see Supplemental Brief at 7-8, 13-14.

        The government rejoins that Tierney‟s assertions were based on her knowledge of the

 realities of drug trafficking, in which drug trafficking and money laundering are intertwined, and

 that the wire intercepts did in fact reveal asserted money laundering activities and the existence,

 location, and disposition of proceeds of drug dealing activities, including (i) paying drivers to

 transport retail drug sellers while they conducted drug transactions, (ii) using drug proceeds to

 rent cars used to distribute drugs, (iii) using drug proceeds to pay rent, (iv) using drug proceeds

 to purchase cell phones used by drug traffickers, and (v) delivering drug proceeds to purchase

 additional drugs. See Supplemental Response at 8-9; New Tierney Aff. ¶ 10.

        In so arguing, the government in effect concedes that Tierney‟s statement, at least in her

 first affidavit, was founded on general knowledge and expertise rather than specific evidence

 garnered as of the time of execution of that affidavit. Yet, a specially trained agent such as

 Tierney legitimately may draw upon her knowledge and expertise in crafting an affidavit in

 support of a wiretap application. See, e.g., Ashley, 876 F.2d at 1072 “([T]he issuing court may

 properly take into account affirmations which are founded in part upon the experience of



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 specially trained agents.”). In the circumstances, Worthy does not make a substantial showing,

 sufficient to warrant an evidentiary hearing, that the challenged statement was knowingly or

 intentionally false or made with reckless disregard for its truth.7

          6.       That Tierney had probable cause to believe, and did believe, that intercepting wire

 and electronic communications would identify the “precise roles” of the so-called target subjects

 and other conspirators. See Worthy Reply at 5; Supplemental Brief at 17-18, 22-23; First

 Tierney Aff. ¶¶ 13(b)-(c), 73, 100; Second Tierney Aff. ¶¶ 14(b)-(c), 28, 53. Worthy argues that

 Tierney supplied no basis for her asserted belief that the wire intercepts would generate the

 promised precision, see Worthy Reply at 5, and that, on its face, this was a sufficiently absurd,

 hyperbolic, and unattainable goal as to render the statement false, see Supplemental Brief at 17-

 18, 22-23. He observes that, in fact, this goal was not accomplished through the first wiretap, as

 a result of which Tierney reiterated the statement in seeking the wiretap of two additional

 phones. See id. at 17-18.

          The government rejoins that Tierney‟s assertions were correct when made and were

 borne out by the fruits of the wire intercepts, which demonstrated, for example, that, with respect

 to at least one transaction on August 3, 2010, Miller was serving not as a supplier, as originally

 thought, but more as an intermediary between an unidentified supplier and Nash, that persons

 working the various phones had clearly defined roles, responsibilities, and customer bases, and

 that some of the street dealers assumed additional responsibilities such as recruiting drivers and

 obtaining vehicles. See Supplemental Response at 10-11; New Tierney Aff. ¶ 9.

          Worthy falls short of making a substantial showing, sufficient to warrant an evidentiary

 hearing, that this challenged statement was knowingly or intentionally false or made with

 7
   Indeed, with the benefit of hindsight, it is apparent that Tierney correctly predicted, at the least, that the wiretaps
 would reveal evidence of the existence, location, and disposition of drug dealing proceeds. See New Tierney Aff.
 ¶ 10.

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 reckless disregard for its truth.

                                     B. Alleged Material Omissions

         Worthy further asserts that Tierney omitted material information from her affidavits in

 the form of substantial evidence identifying Nash and corroborating his involvement in the

 offenses. See Supplemental Brief at 22. He contends, for example, that neither affidavit detailed

 the length of time that the government located a pole camera outside of Nash‟s home or the five

 compact discs of images recorded and preserved from the pole camera. See id. He argues that

 this default was particularly severe with respect to the second affidavit, which adopted the first

 affidavit but omitted to set forth the greater detail contained in the first one. See id. Worthy

 reasons that the detail in the first affidavit, together with the discovery he summarizes, establish

 the falsity of Tierney‟s repeated assertions that the government did not have sufficient evidence

 to charge Nash. See id.

         Worthy falls short of establishing entitlement to an evidentiary hearing on this basis.

 First, I have already concluded that the detail contained in the first affidavit, together with the

 discovery summarized by Worthy, do not reveal any falsity in Tierney‟s assertion. Second, as

 the government points out, see Supplemental Response at 10, Worthy fails to identify any event

 or series of events captured on the pole cameras that changes the substance of the discussion

 outlined in the affidavits relating to pole cameras and their shortcomings in the investigation at

 issue. Third, Tierney effectively incorporated all details contained in her first affidavit into her

 second, having incorporated it by reference and attached it to her second affidavit. See Second

 Tierney Aff. ¶ 6 & Exh. 1 thereto.

                                           C. Minimization

         In both of her affidavits in support of the government‟s wiretap applications, Tierney



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 promised that minimization requirements would be strictly followed and that, inter alia, agents

 would prepare logs regarding the date and time of calls, the parties involved, the subjects of the

 calls, and if and when minimization occurred, and would file with the court, on or about the 15th

 day following commencement of the wiretap, reports detailing the course of the interception,

 with a particular emphasis on minimization procedures. See First Tierney Aff. ¶¶ 103, 107;

 Second Tierney Aff. ¶¶ 56, 60.

        Worthy seeks a hearing regarding the government‟s minimization efforts on two bases:

 that (i) discovery to date indicates that there was a widespread failure to minimize and to follow

 appropriate minimization procedures, and (ii) the government has not yet produced copies of its

 promised reports to the court, impeding his ability to evaluate the extent of judicial supervision

 of the wiretapping. See Supplemental Brief at 3-6, 12.

        In support of the first of these bases for a hearing, Worthy submits an analysis from

 counsel Bradford Bowman of samples of line sheets reflecting the interception of approximately

 8,103 communications pursuant to the wiretaps. See Supplemental Brief at 3-6; Affidavit of

 Bradford R. Bowman (“Bowman Aff.”) (Docket No. 325) ¶ 2. Bowman concluded that there

 appeared to have been a widespread failure to minimize and/or a widespread failure to follow

 promised minimization procedures. See Supplemental Brief at 3-6; Bowman Aff. ¶ 13(d).

 However, he acknowledged that the government‟s apparent failure to document its minimization

 efforts as promised rendered his analysis incomplete. See Supplemental Brief at 12; Bowman

 Aff. ¶ 13(d). Worthy reasons that, in these circumstances, an evidentiary hearing is warranted, if

 not essential. See Supplemental Brief at 12.

        Critically, Bowman assumed, as the starting point for his analysis, that the line sheets

 produced in discovery were the minimization logs referenced in Tierney‟s affidavit, no other logs



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 having been produced. See Bowman Aff. ¶ 5. The government states that this assumption was

 fatally flawed: in fact, the line sheets are not the minimization logs. See Supplemental Response

 at 3. The government represents that it did not produce the logs because no defendant requested

 them and that, upon reviewing the Supplemental Brief, it immediately produced minimization

 logs for all calls analyzed in that brief. See id.

         Worthy does not establish that the government (i) automatically should have produced

 copies of either the minimization logs or the government‟s reports to the court regarding its

 minimization efforts, or, alternatively, (ii) would not have produced those documents had he or

 any other defendant requested them. Indeed, insofar as appears, the logs would have been

 produced if requested: upon reviewing the Supplemental Brief, the government produced its

 minimization logs related to the calls at issue.

         Worthy has been afforded ample opportunity to make his case in favor of the holding of

 an evidentiary hearing with respect to minimization, as well as with respect to necessity and

 probable cause. He has fallen short of doing so. See United States v. Soto-Del Valle, 102

 F. Supp.2d 57, 62 (D.P.R. 2000), aff’d, 325 F.3d 1 (1st Cir. 2003) (denying defendants‟ motion

 for hearing on minimization issue when agent had outlined sufficient procedures to be followed

 in his affidavit in support of wiretap application and defendants “failed to offer any proof of

 outrageous or systematically inappropriate or illegal behavior during the electronic surveillance

 at issue”).

         For all of the foregoing reasons, Worthy‟s request for an evidentiary hearing is DENIED.

                                 IV. Merits of Motions To Suppress

         Confining my review to the parties‟ papers and the underlying wiretap application

 documents, as I have determined is appropriate in this case, I recommend for the reasons that



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 follow that the Worthy and Nash motions to suppress be denied.

                                                  A. Necessity

         Worthy first seeks to suppress intercepted communications on the ground that the

 government‟s applications and supporting affidavits do not demonstrate, other than by

 conclusory statements, that other investigative techniques had been tried and failed, or appeared

 too dangerous or unlikely to succeed if tried. See Worthy Motion at 4-10; see also Ashley, 876

 F.2d at 1072 (“[B]are conclusory statements that normal techniques would be unproductive,

 based solely on an affiant‟s prior experience, do not comply with the requirements of section

 2518(1)(c).”); United States v. Ippolito, 774 F.2d 1482, 1486 (9th Cir. 1985) (government “must

 allege specific circumstances that render normal investigative techniques particularly ineffective

 or the application must be denied[,]” and must not “ignore avenues of investigation that appear

 both fruitful and cost-effective[,]” although it “need not pursue every alternative means of

 investigation”).8

         With respect to the first Tierney affidavit, Worthy argues that conclusory statements in

 paragraphs 72 and 74, see First Tierney Aff. ¶¶ 72, 74, are not supported by succeeding


 8
   Worthy argues that the government misstates applicable law in arguing that the test for necessity is whether the
 wiretaps were required to achieve “the goals of this investigation,” see, e.g., Opposition at 10, Tierney having
 described an aggressive goal: “to identify all participants in this organization and to obtain compelling evidence
 against each of those persons.” Worthy Reply at 1-2, 4 (quoting Second Tierney Aff. ¶ 51). Worthy contends that
 the government‟s only legitimate goal, for purposes of demonstrating the necessity of the wiretaps, was to “expose
 the crime.” Id. at 1-2 (quoting Rivera-Rosario, 300 F.3d at 18). It is not clear to me that the government‟s stated
 goal is inconsistent with a goal of exposing the crime of conspiring to traffic in drugs. In any event, courts have
 recognized that the goal of being able to apprehend and prosecute all conspirators in a drug trafficking case is a
 legitimate one for purposes of showing the necessity of a wiretap. See, e.g., United States v. Rivera, 527 F.3d 891,
 902 (9th Cir. 2008) (“The necessity for the wiretap is evaluated in light of the government‟s need not merely to
 collect some evidence, but to develop an effective case against those involved in the conspiracy. Thus, we have
 consistently upheld findings of necessity where traditional investigative techniques lead only to apprehension and
 prosecution of the main conspirators, but not to apprehension and prosecution of other satellite conspirators.”)
 (citations and internal punctuation omitted); Rivera-Rosario, 300 F.3d at 19 (rejecting argument that traditional
 investigative methods sufficed when, although “the government‟s less intrusive methods had provided some
 valuable assistance in the investigation, much of the conspiracy‟s scope and dealings were still undisclosed”);
 David, 940 F.2d at 728-29 (rejecting defendant‟s necessity challenge where affiant indicated that use of traditional
 methods, including questioning of three informants and study of public documents and telephone toll records, had
 not disclosed identities of all of suspect‟s current drug customers or suppliers).

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 paragraphs, see Worthy Motion at 6-9, given that:

        1.      Tierney asserts that none of the government‟s informants has “contact with the

 entire network of conspirators, nor can they participate in conversation with most of the

 members of the drug distribution organization[,]” First Tierney Aff. ¶ 76, but does not state

 whether the informants collectively had contact with the claimed network or ability to converse

 with most of those whom the government believed to be members of the alleged conspiracy, see

 Worthy Motion at 7.

        2.      Although certain informants purportedly ceased to cooperate with the

 government, see First Tierney Aff. ¶¶ 37 n.42, 77(f), there is little discussion of why the

 remaining informants were no longer of use to the government or what information would be

 available from a wiretap that was not already available from existing sources of information, see

 Worthy Motion at 7.

        3.      Tierney asserts that further use of undercover agents would be unfruitful, see First

 Tierney Aff. ¶ 80, but appears only to consider her further use in that role and makes no

 reference to at least two other undercover agents employed in the government‟s investigation,

 see Worthy Motion at 7. In addition, there is no discussion of using undercover agents to record

 phone calls between such agents and target individuals, which could have been recorded without

 need of a wiretap order. See id. at 7-8.

        4.      Tierney states that “surveillance alone” would be unlikely to yield further

 information, see First Tierney Aff. ¶ 81, but makes an unconvincing case that surveillance would

 have been difficult or impossible; indeed, she states elsewhere that the government intends to

 continue to attempt surveillance, see id. ¶ 90; Worthy Motion at 8.

        5.      In discussing the utility of pen registers and so-called “trap and trace” devices, see



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 First Tierney Aff. ¶ 92, Tierney appears not to appreciate that such devices yield a list of

 telephone numbers dialed by the subject, telephone numbers of those calling the subject, other

 details such as call duration and call time, and even all or portions of so-called “SMS,” or text,

 messages in some cases, see Worthy Motion at 8. Tierney does not indicate that further use of

 such information could not be employed in connection with other standard methods available to

 the government in order to avoid resort to a wiretap. See id.

        6.      Tierney indicates that the government made only one attempt to use a global

 positioning system (“GPS”) tracking device, stating that such a device would not be useful in

 following an alleged conspirator to a destination, when in fact its sole attempt failed because the

 GPS did not work. See First Tierney Aff. ¶ 93 & n.45; Worthy Motion at 8.

        7.      Tierney claimed that use of a grand jury process would not likely be effective, see

 First Tierney Aff. ¶¶ 94-95, an absurd suggestion in light of the government‟s extensive use of

 the grand jury process to conduct discovery, leading to a series of progressively more extensive

 indictments, see Worthy Motion at 9.

        8.      Tierney stated that search warrants would be of little use to the government‟s

 investigation, see First Tierney Aff. ¶ 99, yet she also indicated that the government believed that

 it knew where drugs allegedly were kept in connection with the alleged conspiracy, see Worthy

 Motion at 9.

        Worthy asserts that the second Tierney affidavit incorporates the same flawed statements

 as detailed above and that, in addition, Tierney states that informants will not likely be of further

 use, see Second Tierney Aff. ¶ 30, but later discloses that the government had developed a new

 informant whom it evidently had not yet even used, see id. ¶ 31, thereby failing to exhaust its use

 of informants, see Worthy Motion at 9.



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        These arguments are without merit. Tierney did not rely on conclusory statements to

 demonstrate necessity. Rather, in her first affidavit, she discussed in detail efforts made with

 respect to the use of confidential sources, controlled drug purchases by such sources and

 undercover agents, surveillance, pen registers and trap and trace devices, GPS trackers, and trash

 searches, the limits of each of those methods, and the reasons why she had considered, and at

 that time rejected, the use of the grand jury, an approach to and/or arrest of target subjects or

 other suspected wholesale customers, or the obtaining and execution of search warrants. See

 First Tierney Aff. ¶¶ 72-100. In her second affidavit, she described, and provided concrete

 examples of, the information intercepted through the first wiretap, see Second Tierney Aff. ¶ 19,

 and discussed in detail why the methods covered in the first affidavit, as well as the information

 gleaned through the first wiretap, did not render the two newly sought wiretaps unnecessary, see

 id. ¶¶ 27-53.

        Worthy‟s specific criticisms do not suffice to raise doubt that “the facts set forth in the

 application were minimally adequate to support the determination that was made[.]” Villarman-

 Oviedo, 325 F.3d at 9 (citation and internal quotation marks omitted).

        In assaying the necessity for a wiretap, the court should consider the nature of the alleged

 crimes and may give weight to the opinion of investigating agents that, in the circumstances

 described, other means of investigation were too dangerous and might be counterproductive.

 See, e.g., In re Dunn, 507 F.2d 195, 197 (1st Cir. 1974). “[T]he mere attainment of some degree

 of success during law enforcement‟s use of traditional investigative methods does not alone

 serve to extinguish the need for a wiretap.” United States v. Bennett, 219 F.3d 1117, 1122 (9th

 Cir. 2000). Gaps in an investigation, and a need to corroborate confidential source information,

 are appropriate factors to consider in determining necessity. See, e.g., United States v. Guerra-



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 Marez, 928 F.2d 665, 671 (5th Cir. 1991).

        Tierney adequately explained the limits of the following and why their use would not

 accomplish the goals of the investigation:

        1.      Confidential informants. In her first affidavit, Tierney stated that the government

 had received assistance from five confidential sources of information, SOI1, SOI2, SOI3, SOI4,

 and SOI5, and one confidential source, CS1. See First Tierney Aff. ¶¶ 19-23, 51. She explained

 that no confidential informant had the ability to interact with Nash or other target subjects in the

 upper hierarchy of the conspiracy, see id. ¶ 76, and that there were other reasons why use of

 these six individuals, individually or collectively, would not achieve the objectives of the

 investigation, see id. ¶ 77. Specifically, SOI1 had no direct dealings with the target subjects, but

 rather obtained his/her information from another SOI; SOI2 had generally dealt only with two of

 the target subjects, Webster and Worthy, had ceased drug activity, and no longer had interaction

 with any of the target subjects; SOI3 had limited contact with Nash and other members of the

 alleged hierarchy of the organization and usually went through a third party; SOI4 and CS1 no

 longer were cooperating with law enforcement; and SOI5 was apparently no longer trusted by

 the target subjects and no longer had direct dealings with them. See id.

        While, as of the time of the second wiretap application, agents had developed an

 additional source of information, SOI6, who had had personal contact with Worthy (“Moto”) and

 believed that he/she might be able to purchase drugs from Worthy, SOI6 had never before

 bought drugs from Worthy, had no dealings with any of the other target subjects, had only heard

 some of their names in conversation with Worthy, did not know Worthy‟s source of supply, and,

 therefore, was unlikely to be able to infiltrate the alleged conspiracy in a meaningful way. See

 Second Tierney Aff. ¶¶ 31, 32(f).



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         2.       Undercover agents.        In her first affidavit, Tierney explained that undercover

 agents, like confidential informants, were not privy to the full scope of co-conspirator

 conversations and activities, and that, in her training and experience, those in the hierarchy of a

 drug trafficking conspiracy often insulate themselves from those on the lower levels to lessen

 their exposure to potential witnesses should they be apprehended. See id. ¶ 80. She supplied a

 concrete example, from her personal experience in this case as an undercover agent, of precisely

 that sort of insulation. See id. She did not detail the experience of other undercover agents

 participating in the investigation, see id., but she did not need to. Her statements were at least

 minimally adequate to support a determination that the utility of undercover agents was limited.9

         3.       Surveillance. Tierney adequately explained that, while surveillance had proved

 useful, for example, in linking certain target subjects to others, and agents planned to continue to

 use it, the technique was limited in that (i) agents had received information that the target

 subjects were cautious regarding surveillance, and at least one target subject had employed

 evasive tactics successfully to evade surveillance, (ii) the geographic scope of the alleged

 conspiracy, covering numerous locales in Maine, Massachusetts, New York, and possibly

 elsewhere, made continuous surveillance difficult, and (iii) prolonged surveillance of Nash or

 other target subjects would create a risk of discovery of the surveillance, creating a further risk of

 flight or other compromise of the investigation. See id. ¶¶ 81-91.

         4.       Pen Registers/Trap and Trace Devices.               Worthy, who bears the burden of

 demonstrating that the issuance of the wiretap authorization order was improper, cites no

 authority or evidence for the proposition that pen registers and/or trap and trace devices are


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  While Tierney did not discuss the use of undercover agents to record phone calls, one can reasonably infer from
 her statements that agents would not have succeeded in making contact with those in the upper hierarchy of the
 alleged conspiracy and, therefore, would not have been able to record phone calls with those particular target
 subjects.

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 capable of capturing the content of text messages, see Worthy Motion at 8, a proposition that the

 government contests, see Opposition at 10 n.4.

        5.      GPS Tracking Devices.         Tierney adequately explained why, apart from the

 malfunction of the one GPS tracking device placed by the government during the course of its

 investigation, she considered such devices of limited utility: the investigation had shown that the

 target subjects used numerous vehicles and often rented different vehicles, and even a successful

 tracking of one or more vehicles would not reveal anything about the activities inside or outside

 of the vehicle or conversations among target subjects or between target subjects and their

 associates. See First Tierney Aff. ¶ 93 & n.45.

        6.      Grand Jury. As the government notes, see Opposition at 12, in her first affidavit,

 Tierney detailed the risks and practical problems with the use of the grand jury process for

 witness testimony, in particular the risk that premature disclosure of the investigation could

 result in flight of targets and destruction of evidence, see First Tierney Aff. ¶¶ 94-95. That the

 government made use of the grand jury later in the investigation, following the completion of the

 wiretaps at issue and the gathering of further significant evidence against the target subjects,

 does not undermine Tierney‟s assertion that, at these earlier stages of the investigation, the

 government harbored legitimate concerns regarding disclosure of its ongoing investigation and

 the potential for flight or destruction of evidence.

        7.      Search Warrants. Tierney adequately explained why, despite the development of

 information that Nash and his associates stored drugs at Nash‟s Buxton residence, the

 government considered the execution of a search and seizure warrant premature, given that no

 SOI had contemporaneous information about when drugs were present at the residence, and

 agents did not know exactly where on the property they were secreted. See First Tierney Aff.



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 ¶ 99. Further, Tierney observed that execution of a search warrant would alert the target subject

 to the existence of the investigation, would prevent agents from identifying and successfully

 prosecuting other participants, and would likely lead to the discovery of only a single load of

 drugs and fail to develop sufficient evidence to prosecute Nash, his supplier(s), and other target

 subjects for the full scope of the alleged drug trafficking activity. See id.

        Tierney finally also plausibly explained that wiretaps of two additional phones were

 necessary, in the wake of the first wiretap, because agents still had not been able to determine the

 full scope of the conspiracy and its players. See Second Tierney Aff. ¶¶ 52-53; see also, e.g.,

 United States v. Garcia, 232 F.3d 1309, 1315-16 (10th Cir. 2000) (earlier wiretap of suspect‟s

 phone did not obviate the need for wiretap of phone of suspected leader of drug conspiracy when

 the extent of suspected leader‟s dealings and the source from which he obtained drugs remained

 unknown, and the fact that he was the highest known participant in the conspiracy made it

 difficult to collect information on him and his suppliers from lower-level members).

        As noted above, “the government is not required to show that other investigatory methods

 have been completely unsuccessful, nor is the government forced to run outlandish risks or to

 exhaust every conceivable alternative before resorting to electronic surveillance.”         Rivera-

 Rosario, 300 F.3d at 19 (citations omitted). Instead, “the government must demonstrate that it

 has made a reasonable, good faith effort to run the gamut of normal investigative procedures

 before resorting to means so intrusive as electronic interception of telephone calls.” López, 300

 F.3d 46 at 52 (citation and internal quotation marks omitted).

        The government made the required showing by means of the Tierney affidavits. See id.

 at 53 (DEA agent‟s affidavit was more than minimally adequate to show necessity for wiretap

 when he (i) described several alternative investigative techniques that had been tried and failed,



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 appeared unlikely to succeed, might alert the conspirators, or were too dangerous to pursue,

 (ii) explained that the utility of certain techniques, such as physical surveillance, interrogation of

 informants, pen-register analysis, and controlled buys, had been exhausted or greatly diminished,

 and (iii) demonstrated that the traditional techniques employed over the course of several months

 had failed to establish the identity of some of the conspirators, particularly those at the top of the

 distribution chain); Rivera-Rosario, 300 F.3d at 19 (government made adequate showing of

 necessity for wiretap when it “describe[d] in detail the surveillance techniques which had been

 tried, such as physical surveillance, pen registers, closed-circuit television cameras, records

 checks, and debriefings[,]” “described all the reasons why these tactics had been ineffective or

 limited in use[,]” and “list[ed] other available methods which were not viable options, including

 the use of grand jury subpoenas and search warrants, which would have alerted conspirators to

 the ongoing investigation”).

          Here, as in Rivera, “[w]hile the government could probably have relied on these

 techniques alone to successfully prosecute a few individuals . . . for drug crimes, the issuing

 court did not abuse its discretion in concluding that the wiretap was necessary to identify the full

 scope of the [drug-trafficking] organization and develop an effective case against its members.”

 Id. (citation and internal quotation marks omitted).10

                                               B. Probable Cause

          Worthy next asserts that the Tierney affidavits did not establish probable cause to believe

 that the target subjects were committing a crime, or that the intended interceptions would relate

 to any such crime, in view of the government‟s heavy reliance, particularly in its first wiretap
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   This analysis is also dispositive of Nash‟s challenge to the necessity finding. Nash argued that, prior to applying
 for wiretap authorization, the government had employed other techniques successfully, notably, Tierney‟s
 undercover purchases of narcotics from one of the named co-defendants in circumstances in which Nash was in the
 area and participated in the events. See Nash Motion at [2]. Nonetheless, as noted above, Tierney made a detailed
 and plausible showing that the totality of the information gathered was insufficient to glean the full scope of the
 conspiracy and prosecute all alleged conspirators.

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 application, on confidential informants of questionable or unproven reliability. See Worthy

 Motion at 10-12.

        He notes, for example, that the government admitted that it had concerns regarding

 SOI1‟s credibility, disclosed that SOI3 was paid for his/her services, and disclosed that SOI5 was

 motivated by his/her interest in receiving immunity from prosecution. See id. at 11. He argues

 that the government offered nothing but naked assertions regarding the credibility of other

 sources. See id.

        This challenge, too, is without merit. As the government observes, see Opposition at 5-6,

 Tierney relied in her first affidavit not only on interviews with confidential informants but also

 on undercover controlled drug purchases, surveillance of the targets, and analysis of the results

 of pen registers to establish probable cause, see First Tierney Aff. ¶¶ 24-71. Moreover, as the

 government argues, see Opposition at 6-7, there were indicia of the reliability of the informants‟

 information, for example, that three of the informants provided information derived from first-

 hand dealings with target subjects, that the information was detailed, and that informants cross-

 corroborated each other‟s information, see First Tierney Aff. ¶¶ 19-23, 77; see also, e.g., United

 States v. Barnard, 299 F.3d 90, 93-94 (1st Cir. 2002) (factors to be considered, in assessing the

 reliability of a confidential informant‟s information, include the specificity of the information,

 whether it is first-hand or hearsay, and whether the information has been corroborated).

        The First Tierney Affidavit supplied probable cause to believe that a drug trafficking

 conspiracy crime was being committed and that evidence of that crime would be found through

 interception of communications to and from the target telephone, which was used by target

 subject Veronica Brown. See First Tierney Aff. ¶ 8. Two confidential informants had identified

 Brown as an individual selling and delivering crack and heroin for other members of the alleged



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 conspiracy, including Worthy and Nash. See id. ¶¶ 25, 37, 42. On six occasions, undercover

 agents had purchased drugs from Brown during controlled buys. See id. ¶¶ 47-50, 52-55, 63-67.

 Pen register analysis had disclosed a high volume of calls being made from and received by the

 target telephone, consistent in Tierney‟s experience with use of the phone to facilitate drug

 trafficking, including calls to and from phone numbers associated with other target subjects. See

 id. ¶ 71.

          In short, Tierney‟s affidavit contained sufficient information to convey “a fair probability

 that a wiretap [would] uncover evidence of a crime.” Fairchild, 189 F.3d at 775.11

                                                 C. Minimization

          Worthy, finally, seeks suppression of intercepted communications on the basis of an

 apparent widespread failure to minimize calls and/or follow adequate minimization procedures.

 See Worthy Motion at 12; Supplemental Brief at 12.

          In assessing whether “the minimization effort was managed reasonably in light of the

 totality of the circumstances[,]” Charles, 213 F.2d at 22, relevant factors include “1) the nature

 and complexity of the suspected crimes; 2) the thoroughness of the government‟s precautions to

 bring about minimization; and 3) the degree of judicial supervision over the surveillance

 process.” López, 300 F.3d at 57.

          In cases in which “an investigation involves a drug ring of unknown proportion, . . . the

 need to allow latitude to eavesdroppers is close to its zenith.” Charles, 213 F.3d at 22 (citation

 and internal quotation marks omitted); see also, e.g., Bennett, 219 F.3d at 1124 (“Where, as here,

 the wire intercept concerns a drug ring, the need to allow latitude to monitoring agents is
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   To the extent that Worthy seeks to assess the credibility of the confidential informants by way of an order that the
 government disclose their identities and/or an evidentiary hearing, see Worthy Motion at 11-12, his request is
 denied. Worthy offers no reason to believe that Tierney knowingly or recklessly falsified information, or omitted
 material information, bearing on the informants‟ credibility. As Worthy acknowledges, see id. at 11, Tierney
 disclosed information material to the confidential informants‟ motivations and in some cases acknowledged doubts
 about their credibility, see First Tierney Aff. ¶¶ 19-23.

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 paramount. The fact that the FBI overheard a few innocent conversations does not render its

 minimization efforts unreasonable. . . . Moreover, if phone conversations include guarded or

 coded language as in this case, a higher rate of nonrelevant intercepted calls should be expected

 because it takes longer to figure out the meaning of a particular call.”) (citations and internal

 punctuation omitted); United States v. Wilson, 835 F.2d 1440, 1445-46 (D.C. Cir. 1987), rev’d

 and remanded on other grounds sub nom. Bloate v. United States, 130 S. Ct. 1345 (2010)

 (rejecting defendant‟s minimization argument in case in which monitored conversations often

 started with discussion of non-criminal matters, as a result of which agents reasonably could

 have believed conversation might turn at any moment to criminal activities); United States v.

 Cleveland, 964 F. Supp. 1073, 1093 (E.D. La. 1997) (“When the investigation is focusing on

 what is thought to be a widespread conspiracy more extensive surveillance may be justified in an

 attempt to determine the precise scope of the enterprise. This is especially true when the

 judicially approved wiretap is designed to identify unknown coconspirators.”) (citations and

 internal quotation marks omitted).

        “[O]nce the issue of minimization has been raised, the Government must then make a

 prima facie showing that its minimization efforts were reasonable.” United States v. Lopez, No.

 CRIM. 99-79-P-C, 2000 WL 761977, at *6 (D. Me. Apr. 28, 2000), aff’d, 300 F.3d 46 (1st Cir.

 2002). “Once such a showing has been made, the burden shifts to the defendant to demonstrate

 that more effective minimization could have taken place.” Id.

        The government meets its prima facie burden of showing that its minimization efforts

 were reasonable. In her affidavits supporting the two wiretap applications at issue, Tierney

 averred that minimization standards would be strictly followed, that monitoring agents would be

 trained to implement such standards, including respect for the privacy of innocent and privileged



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 phone calls, and that the government would supply periodic reports to the court touching, inter

 alia, on its minimization efforts. See First Tierney Aff. ¶¶ 103-07; Second Tierney Aff. ¶¶ 56-

 60. Similar procedures and training have been deemed adequate in other cases. See, e.g.,

 Rivera, 527 F.3d at 904-05 (monitoring procedures and training were adequate, for minimization

 purposes, when, inter alia, agents and monitors were required to read affidavit submitted in

 support of wiretap, court order authorizing wiretap, and minimization memorandum written by

 Assistant United States Attorney, who personally instructed all agents and monitors present on

 the first day of the wiretap, and minimization memorandum instructed monitors to immediately

 terminate interception of a call if no target subject or criminal associate was participating, to

 intercept calls for a reasonable time, usually not more than two minutes, to determine whether

 the conversation concerned criminal activities, and monitors could ask on-site agent or contact

 other listed persons if they had questions).

        As was appropriate in the circumstances, involving investigation into a drug ring of

 unknown proportion, with as-yet-unidentified co-conspirators in multiple states and use of code

 language, monitoring agents were authorized to spot-check seemingly innocent communications

 to determine whether they had turned to criminal matters.             See Order Authorizing the

 Interception of Wire Communications (Docket No. 2), First Wiretap Case, at 5; Order

 Authorizing the Interception of Wire and Electronic Communications (Docket No. 3), Second

 Wiretap Case, at 5; see also, e.g., Cleveland, 964 F. Supp. at 1093 (“When nonpertinent calls are

 short, ambiguous in nature, and/or involve guarded or coded language, agents can hardly be

 expected to know that the calls are pertinent prior to their termination and hence their

 interception is entirely reasonable.”) (citation and internal quotation marks omitted).




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        Periodic reports were in fact submitted to the court showing minimization of certain non-

 pertinent calls, a further factor counseling in favor of a finding of reasonableness. See First

 Report to the Court (Docket No. 4), First Wiretap Case (covering period from June 3-16, 2010);

 Second Report to the Court (Docket No. 7), First Wiretap Case (covering period from June 16-

 30, 2010); First Report to the Court (Docket No. 4), Second Wiretap Case (covering period from

 July 6-24, 2010); Second Report to the Court (Docket No. 7), Second Wiretap Case (covering

 period from July 25-August 5, 2010); see also Cleveland, 964 F. Supp. at 1095 (“[T]he

 government regularly reported the results of its interceptions in written 10 day reports and in oral

 reports to Judge Polozola. This further supports the general conclusion that [its] minimization

 efforts were reasonable.”).

        This prima facie case having been made, Nash and Worthy fall short of demonstrating

 that more effective minimization could have taken place. Nash states that his review of recorded

 conversations provided by the government revealed that agents recorded several conversations

 between himself and his children and between children who were in the home from time to time,

 indicating that the government did not follow minimization requirements. See Nash Motion at

 [2]. Nash does not identify the precise conversations to which he refers. See id. In any event,

 the interception and recording of a few innocent conversations in the context of surveillance of a

 voluminous number of calls involving a suspected drug ring does not render the government‟s

 minimization efforts unreasonable. See, e.g., Bennett, 219 F.3d at 1124 (“Even assuming the

 government improperly intercepted all 267 calls as the appellants assert, this was only 3.65% of

 the total number of calls intercepted. Such a percentage alone is not fatal.”).

        Nash‟s showing, at most, suffices for suppression of the communications he discusses,

 not wholesale suppression of all intercepted communications. See, e.g., Charles, 213 F.3d at 22



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 (upholding limited suppression remedy in circumstances in which minimization effort was

 reasonably managed).

         Worthy relies on (i) an analysis of line sheets that, for reasons stated above, is fatally

 flawed, (ii) an argument that the alleged crime at issue was not complex, but rather a garden-

 variety drug trafficking conspiracy, (iii) an argument, now stricken, that there was inadequate

 judicial supervision of the government‟s minimization efforts, and (iv) an argument, now

 stricken, that the court‟s wiretap orders were sufficiently facially defective to justify suppression

 of intercepted communications on that basis alone. See Supplemental Brief at 3-12, 19-20.

 Worthy‟s argument concerning complexity of the crime, standing alone, is insufficient to justify

 suppression based on inadequate minimization.12

                                                 IV. Conclusion

         For the foregoing reasons, I DENY Worthy‟s motion to strike, GRANT the

 government‟s motion to strike, DENY Worthy‟s request for an evidentiary hearing, and

 recommend that the court DENY Worthy‟s and Nash‟s motions to suppress wiretap evidence.



                                                     NOTICE

         A party may file objections to those specified portions of a magistrate judge’s report or
 proposed findings or recommended decisions entered pursuant to 28 U.S.C. § 636(b)(1)(B) for
 which de novo review by the district court is sought, together with a supporting memorandum
 and request for oral argument before the district judge, if any is sought, within fourteen (14)
 days after being served with a copy thereof. A responsive memorandum and any request for
 oral argument before the district judge shall be filed within fourteen (14) days after the filing
 of the objection.


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    In any event, although Worthy contends that (i) there was no evidence of money laundering and (ii) the alleged
 drug crimes were not particularly sophisticated, the investigation having shown that Nash and Phillips traveled
 regularly to New York, apparently bought modest quantities of cocaine, concealed it in Phillips‟ person, returned to
 Maine, stored the cocaine at Nash‟s house, cooked the cocaine into crack, and sold it through a small group of
 friends and associates, see Supplemental Brief at 7-8, the government‟s investigation involved “a drug ring of
 unknown proportion,” the very circumstance in which, the First Circuit has noted, “the need to allow latitude to
 eavesdroppers is close to its zenith[,]” Charles, 213 F.3d at 22 (citation and internal quotation marks omitted).

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         Failure to file a timely objection shall constitute a waiver of the right to de novo review
 by the district court and to appeal the district court’s order.


        Dated this 15th day of April, 2011.

                                                      /s/ John H. Rich III
                                                      John H. Rich III
                                                      United States Magistrate Judge




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